      Case 2:18-cv-00257-TOR        ECF No. 72   filed 08/12/19   PageID.3777 Page 1 of 8



 1 MICHAEL CHAIT                                           HONORABLE CHIEF JUDGE
   KELSEY ENDRES                                                  THOMAS O. RICE
   HAYLEY VENTOZA
 2 MONTGOMERY SCARP & CHAIT PLLC
   1218 THIRD AVENUE, SUITE 2500
   SEATTLE, WA 98101
 3 (206) 625-1801

 4

 5

 6                     UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WASHINGTON
 7
     LAWRENCE DARREN MODLER,                     No. 2:18-CV-257-TOR
 8                     Plaintiff,                BNSF’S EVIDENTIARY
 9                   vs.                         OBJECTIONS TO PLAINTIFF’S
                                                 RESPONSE TO BNSF’S MOTION
     BNSF RAILWAY CO.,                           FOR SUMMARY JUDGMENT
10
                       Defendant.
                                                 NOTE ON MOTION CALENDAR:
11
                                                 August 27, 2019
                                                 Without oral argument
12

13

14

15         Pursuant to Federal Rule of Civil Procedure 56(c)(2), BNSF files the

16 following objections to evidence filed in support of Plaintiff’s Response to BNSF’s

17 Motion for Summary Judgment (ECF No. 45) and Plaintiff’s Response to BNSF’s

18 Statement of Material Facts (ECF No. 43).

19

20   BNSF’S EVIDENTIARY OBJECTIONS TO                   MONTGOMERY SCARP & CHAIT PLLC
                                                            1218 Third Avenue, Suite 2500
     PLAINTIFF’S RESPONSE TO BNSF’S                           Seattle, Washington 98101
21   MOTION FOR SUMMARY JUDGMENT - 1                          Telephone (206) 625-1801
     No. 2:18-cv-257-TOR                                      Facsimile (206) 625-1807
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 1                                EVIDENTIARY OBJECTIONS

 2   Material objected to         Ground(s) for objection                   Ruling

 3   1. All exhibits “attached”   Plaintiff did not include a declaration  Sustained
     to Plaintiff’s Response to   to authenticate such “attached”
                                                                           Overruled
 4   BNSF’s Motion for            exhibits, nor establish that they are
     Summary Judgment             self-authenticating. Fed. R. Evid. 602,
 5   (ECF No. 45) and             901(a); Fed. R. Civ. Proc. 56(c)(4);
     Plaintiff’s Response to      Kim v. Boeing Co., No. C10-
 6   BNSF’s Statement of          1850RSM, 2011 WL 4437086, at *1
     Material Facts (ECF No.      (W.D. Wash. Sept. 23, 2011), aff'd,
 7   43).                         487 F. App'x 356 (9th Cir. 2012). As
                                  such, all should be ignored, and any
 8                                reference to such evidence in
                                  plaintiff’s opposition should be
 9                                stricken. Howell v. Swedish Med. Ctr.,
                                  No. C04-1329RSM, 2005 WL
10                                2455020, at *1 (W.D. Wash. Oct. 4,
                                  2005) (where plaintiff failed to
11                                properly file declaration, “declaration
                                  and attached exhibits accordingly
12                                cannot be considered by the Court.”)

13   2. The inclusion of full,    Without explanation, plaintiff includes    Sustained
     undesignated, deposition     the full transcripts of each deposition
14                                                                           Overruled
     transcripts (ECF Nos. 43-    taken in this case (as well as a number
     1 through 43-12, 43-15       of irrelevant transcripts from other
15   through 43-20, 43-22,        cases), regardless of whether any
     43-23)                       specific section applies, and without
16                                pointing the Court to any sections
                                  cited. These exhibits should be
17                                stricken for failure to abide by the
                                  Court’s Jury Trial Scheduling Order
18                                which provides:

19                                    When a party relies on
                                      deposition testimony to
20   BNSF’S EVIDENTIARY OBJECTIONS TO                 MONTGOMERY SCARP & CHAIT PLLC
                                                          1218 Third Avenue, Suite 2500
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21   MOTION FOR SUMMARY JUDGMENT - 2                        Telephone (206) 625-1801
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 1   Material objected to      Ground(s) for objection                  Ruling

 2                                 support a position it takes in
                                   support or opposition to an
 3                                 issue, that party shall provide
                                   the Court with the pertinent
 4                                 excerpts of the deposition
                                   testimony relied upon and
 5                                 shall cite to page and line
                                   numbers of the deposition it
 6                                 believes supports its position.
                                   See generally LCivR 56(c).
 7                                 Submission of the entire
                                   deposition and/or failure to
 8                                 cite to specific portions of the
                                   deposition may result in the
 9                                 submission being stricken
                                   from the record. See Orr v.
10                                 Bank of America, 285 F.3d
                                   764, 774-75 (9th Cir. 2002).
11
                               ECF No. 13 at 6:17-7:4 (emphasis in
12                             original). Accordingly, the above-
                               referenced exhibits, and any reference
13                             to them in the briefing, should be
                               stricken.
14
     3. Ex. A, deposition of   Plaintiff seeks to introduce the entirety  Sustained
15   Darron Boltin in          of the deposition testimony of a BNSF
                                                                          Overruled
     Fresquez v. BNSF, Case    employee, from an entirely different
16   No. 1:17-cv-008844 (D.    case, in a different state, involving
     Col.), in its entirety.   none of the individuals involved in this
17                             case. Mr. Boltin has never been
                               identified in discovery responses, or
18                             otherwise disclosed as a witness in this
                               case. There is no relevance to such
19                             information on its face, and the
                               attachment of the transcript violates
20   BNSF’S EVIDENTIARY OBJECTIONS TO              MONTGOMERY SCARP & CHAIT PLLC
                                                       1218 Third Avenue, Suite 2500
     PLAINTIFF’S RESPONSE TO BNSF’S                      Seattle, Washington 98101
21   MOTION FOR SUMMARY JUDGMENT - 3                     Telephone (206) 625-1801
     No. 2:18-cv-257-TOR                                 Facsimile (206) 625-1807
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 1   Material objected to      Ground(s) for objection                    Ruling

 2                             the Court’s Jury Trial Scheduling
                               Order (ECF No. 13 at 6:17-7:4).
 3
                               Moreover, plaintiff proffers this
 4                             testimony to claim that the
                               investigation procedures bargained for
 5                             as part of the Collective Bargaining
                               Agreement between BNSF and
 6                             members of plaintiff’s union are
                               “unfair.” Such perceived “unfairness”
 7                             of the bargained-for agreement is
                               entirely irrelevant to the issues before
 8                             this Court. See BNSF’s Motion in
                               Limine Nos. 35 (ECF No. 53 at 43:8-
 9                             44:15).

10                             Moreover, this individual was not
                               identified in plaintiff’s initial
11                             disclosures and the testimony can be
                               struck on that basis, too. Fed. R. Civ.
12                             Proc. 37(c)(1).

13   4. Ex. H, deposition of   Plaintiff seeks to introduce the entirety  Sustained
     BNSF (Eric Weber) in      of the deposition transcript of a six
14                                                                        Overruled
     Koziara v. BNSF, Case     year old corporate deposition, from an
     No. 13-cv-00834 (W.D.     entirely different case, in a different
15   Wis.), in its entirety.   state, involving none of the individuals
                               involved in this case. Plaintiff does not
16                             even cite this deposition in his
                               response papers. There is no relevance
17                             to such information on its face, and the
                               attachment of the transcript violates
18                             the Court’s Jury Trial Scheduling
                               Order (ECF No. 13 at 6:17-7:4).
19                             Moreover, this individual was not
                               identified in discovery or plaintiff’s
20   BNSF’S EVIDENTIARY OBJECTIONS TO              MONTGOMERY SCARP & CHAIT PLLC
                                                       1218 Third Avenue, Suite 2500
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21   MOTION FOR SUMMARY JUDGMENT - 4                     Telephone (206) 625-1801
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 1   Material objected to         Ground(s) for objection                     Ruling

 2                                initial disclosures and the testimony
                                  can be struck on that basis, too. Fed. R.
 3                                Civ. Proc. 37(c)(1).

 4   5. Ex. I, deposition of      Plaintiff seeks to introduce the entirety  Sustained
     BNSF (Greg Koontz) in        of the deposition transcript of a 2017
 5                                                                           Overruled
     Dickens v. BNSF, OSHA        corporate deposition, from an entirely
     Office of Administrative     different case, in a different state,
 6   Judges, Case No. 2016-       involving none of the individuals
     FRS-0065, in its entirety.   involved in this case. Plaintiff does not
 7                                cite to any specific portion of his
                                  deposition in his response papers.
 8                                There is no relevance to such
                                  information on its face, and the
 9                                attachment of the transcript violates
                                  the Court’s Jury Trial Scheduling
10                                Order (ECF No. 13 at 6:17-7:4).
                                  Moreover, this individual was not
11                                identified in discovery or plaintiff’s
                                  initial disclosures and the testimony
12                                can be struck on that basis, too. Fed. R.
                                  Civ. Proc. 37(c)(1).
13
     6. Ex. J, deposition of      Plaintiff seeks to introduce the entirety  Sustained
14   Michael Paz in Fresquez      of the deposition transcript of an
                                                                             Overruled
     v. BNSF, Case No. 1:17-      unrelated witness, from an entirely
15   cv-008844 (D. Col.), in      different case, in a different state,
     its entirety.                involving none of the individuals
16                                involved in this case. There is no
                                  relevance to such information on its
17                                face, and the attachment of the
                                  transcript violates the Court’s Jury
18                                Trial Scheduling Order (ECF No. 13 at
                                  6:17-7:4).
19
                                  Moreover, neither this individual, nor
20   BNSF’S EVIDENTIARY OBJECTIONS TO                 MONTGOMERY SCARP & CHAIT PLLC
                                                          1218 Third Avenue, Suite 2500
     PLAINTIFF’S RESPONSE TO BNSF’S                         Seattle, Washington 98101
21   MOTION FOR SUMMARY JUDGMENT - 5                        Telephone (206) 625-1801
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 1   Material objected to       Ground(s) for objection                   Ruling

 2                              this transcript, was identified in
                                discovery or in plaintiff’s initial
 3                              disclosures and the testimony can be
                                struck on that basis, too. Fed. R. Civ.
 4                              Proc. 37(c)(1).

 5   7. Ex. K, declaration of   Plaintiff seeks to introduce the entirety  Sustained
     Lawrence Mann              of a declaration of an undisclosed
 6                                                                         Overruled
     submitted in Fresquez v.   expert that his counsel filed in an
     BNSF, Case No. 1:17-cv-    entirely different case, in a different
 7   008844 (D. Col.), in its   state, involving none of the individuals
     entirety.                  involved in this case.
 8
                                The declaration relates solely to the
 9                              purported legislative history behind
                                amendments to the FRSA that have no
10                              bearing on resolution of the issues on
                                this motion. See, e.g., BNSF’s Motion
11                              in Limine No. 8, ECF No. 53 at 15:7-
                                16:13.
12
                                Moreover, neither this individual, nor
13                              this declaration were identified in
                                discovery or in plaintiff’s initial
14                              disclosures and the testimony can be
                                struck on that basis, too. Fed. R. Civ.
15                              Proc. 37(c)(1).

16   8. Ex. Q, deposition of    Plaintiff seeks to introduce the entirety  Sustained
     Stephanie Detlefson in     of the deposition transcript of an
17                                                                         Overruled
     Fresquez v. BNSF, Case     unrelated witness, from an entirely
     No. 1:17-cv-008844 (D.     different case, in a different state,
18   Col.), in its entirety.    involving none of the individuals
                                involved in this case. There is no
19                              relevance to such information on its
                                face, and the attachment of the
20   BNSF’S EVIDENTIARY OBJECTIONS TO               MONTGOMERY SCARP & CHAIT PLLC
                                                        1218 Third Avenue, Suite 2500
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 1   Material objected to        Ground(s) for objection                   Ruling

 2                               transcript violates the Court’s Jury
                                 Trial Scheduling Order (ECF No. 13 at
 3                               6:17-7:4).

 4                               Moreover, neither this individual, nor
                                 this transcript, was identified in
 5                               discovery or in plaintiff’s initial
                                 disclosures and the testimony can be
 6                               struck on that basis, too. Fed. R. Civ.
                                 Proc. 37(c)(1).
 7
     9. Exhibit U, Plaintiff’s   Plaintiff’s use of his own interview is    Sustained
 8   September 12, 2017          impermissible hearsay. Fed. R. Evid.
                                                                            Overruled
     interview with OSHA.        802. While BNSF may use the
 9                               interview under Federal Rule of
                                 Evidence Procedure 801(d)(2),
10                               plaintiff’s use of it is not permitted.

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20   BNSF’S EVIDENTIARY OBJECTIONS TO                MONTGOMERY SCARP & CHAIT PLLC
                                                         1218 Third Avenue, Suite 2500
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 1                               CERTIFICATE OF SERVICE
 2        I am over the age of 18 and not a party to this action. I am the assistant to an
   attorney with Montgomery Scarp & Chait PLLC, whose address is 1218 Third
 3
   Avenue, Suite 2500, Seattle, Washington, 98101.
 4
        I hereby certify that a true and complete copy of BNSF’S EVIDENTIARY
 5 OBJECTIONS TO PLAINTIFF’S RESPONSE TO BNSF’S MOTION FOR
   SUMMARY JUDGMENT has been filed with the United State District Court via
 6 ECF system, which gives automatic notification to the following interested parties:

 7
           Joseph A. Grube                        Nicholas D. Thompson
 8         Karen Orehoski                         The Moody Law Firm
           Breneman Grube Orehoski, PLLC          500 Crawford Street, Suite 200
 9         1200 Fifth Avenue, Suite 625           Portsmouth, VA 23704
           Seattle, WA 98101
10         Attorneys for Plaintiff                Attorneys for Plaintiff-Pro Hac Vice
11
          I declare under penalty under the laws of the United States of America that
12 the foregoing information is true and correct.

13         DATED this 12th day of August, at Seattle, Washington.

14

15
                                             s/ Katherine Eiler
16                                          Katherine Eiler, Paralegal

17

18

19

20   BNSF’S EVIDENTIARY OBJECTIONS TO                 MONTGOMERY SCARP & CHAIT PLLC
                                                          1218 Third Avenue, Suite 2500
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